Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 1 of 45

[= BENCHMARK

June 1, 2021

Kenneth Wayne Jones
County Administrator
Hinds County

Post Office Box 686
Jackson, MS 39205-0686

Re: Benchmark Invoice #28

Dear Mr. Jones:

Please find enclosed our invoice for May 2021. | have attached timesheets as well as a breakdown by
facility for your reference, Please process for payment.

If you have any questions please let me know.

Sincerely,

f We MHA CoA
David Marsh,
President

DEFENDANT'S
1867 Crane Ridge Dr, Suite 200-A, Jackson, MS 39216» P.O, Box 31177 Jackson, MS 39286-1177 i EXHIBIT
Phone 601-362-6110 « Fax 601-362-9812» wyw.benchmarkms,com D-12

D-000171
Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 2 of 45

BENCHMARK INVOICE
CONSTRUCTION a

© CORPORATION NO. seNTIORA
1867 Crane Ridge Dr, Suite 200-A DATE:
P.O, Box 31177 Jackson, MS 39286-1777 N/A
Phone (601) 362-6110 YOUR ORDER NO,
Fax (601) 362-9812
SOLD TO: LOCATION: .
Hinds County Raymond Detention Center
Work Center/Jackson D C
Henley - Young
OUR JOB NO.: CONTRAGS DATE: AUT HQRIZED BY:
DESCRIPTION AMOUNT
INVOICE FOR MAY 2021
David Marsh $ 1,460.00
Gary Chamblee $11,534.00
Willie Edmond $10,080.00
Pat Logue $ 3,802.15

Timesheets Attached

TOTAL AMOUNT THIS INVOICE $26,876.15

eo PLEASE PAY FROM INVOICE e NO STATEMENT RENDERED eo

D-000172
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HINOS DETENTION FACILITIES

TUME SHEET RECAP
5/31/2021
6/1/2021 DESCRIPTION HOURS AMOUNT TOTAL
RAYMOND DETENTION CENTER
Gary Chamblee 130 $73 $ 9,490.00
Willte Edmond 180 $56 $ 10,080.00
Pat Logue 128 $28 $ 3,526.40
438.00 $ 23,096.40
HENLEY YOUNG
Willie Edmond 0 $56 $ -
Gary Chamblee 17 $73 $ 1,241.00
17 $ 1,241.60
WORK CENTER
Willie Edmond 0 $56 $ -
Gary Chamblee 11 $73 $ 803.00
il $ 803.00
JACKSON DETENTION CENTER
Gary Chambleo 0 $73 $ :
Willie Edmond Q $56 $ -
0 $ :
MEETINGS
David Marsh 20 $73 $ 1,460.00
20 $ 1,460.00
TOTAL $ 26,600.40
Rinrbursement for materials $ 250.68 10% $ 275.75
TOTAL AMOUNT DUE $ 26,876,15

D-000173
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JONFYIINOD SNLV1S/DaY AeW-22
JONIYISNOD SALW1S/3FV/9ay Aew-9z
389/ALNNOD SGNIH/Dau Aei-sz
ONNOA AZINIH/OGY AeIW-7z
331/TVSOdOUd D0¥ /SUAGUO NYOM ALNNOD SGNIH AeW-TZ
YILLNID WYOM/IGY/SYAGYO AYOM OD SANIH AeW-07
SIVSOdOUd /SYITYO AYOM ALNNOD SONI AeI-6T
STWSOdOUd/SYITUO AYOM ALNNOD SONIH AeIAI-8T
J3YDIG ANSSNOD /SUAGUO AYOM /ALNNOD SGNIH AeI-ZT
AI/STVSOdOud/IVSOdOud Day AeW-rT
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DATE

3-May

4-May

5-May

6-May

7-May

10-May
11-May
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13-May
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26-May
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28-May

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HINDS DETENTION FACILITIES

TIME SHEET WILLIE EDMOND
5/31/2021
DESCRIPTION HOURS

WORK ORDER REVIEW. 9,00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
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TOTAL RDC HOURS 180.00

180 TOTAL HOURS x$56= $ 10,080.00

$ 10,080.00

D-000175
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[3¢ BENCHMARK
Ma @= CONSTRUCTION

CORPORATION
Daily Report Monday, May 03, 2021

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir W-Speed W-Gust Precip Condltlon
01:58 AM 70°F 100% S 8 MPH 42 MPH OIN Mostly clear
05:59 AM 73°F 100% SSE 6MPH 11 MPH OIN Cloudy
10:00 AM 81°F 100% S 8MPH 8 MPH OIN Cloudy
02:07 PM 88 °F 100% S 11 MPH 23 MPH OIN Mostly cloudy
06:00 PM 88°F 94% S 410 MPH 19 MPH OIN Cloudy
09:59 PM 79 °F 100% SSE 7 MPH 15 MPH OIN Mostly cloudy
Name CostCode Trade’ Class Worker(s) Hours Description
work on plumbing problems in b-
Hinds County Plumber 1 0,00 podicalls

Install new lights and work on
existing lights in b-pod and
installed new wires between
disconnect and #2 cooling tower

Shiver Clectric $ 300 fan motor that was bad and keep
tripping the cooling tower
breaker. After finishing the fan
and breaker work properly

Total: 4 8.00

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Monday, May 03, 2024 | Page 1 of 3

D-000176
Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 7 of 45

08:30 PM Wille Edmond
(Lat/Long: 32.323272,-90,872348)

Hinds County issue a work order stating that the cooling tower #2 that feeds the only chiller (York) working kelp tripping breaker. So
Benchmark was ask to get shivers Electric to evaluate what was going on. They found bad wires between disconnect and #2 cooling tower
fan motor. They replaced all wires with new wires and the cooling tower ran properly

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Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 9 of 45

CONSTRUCTION
© coronation

2S BENCHMARK

Daily Report Monday, May 03, 2021

Raymond Work Center

1450 County Farm Road
Raymond, Ms 39154

Time Temp Hum  W-Dir W-Speed W-Gust Precip Condition

01:58 AM 70°F 100% S 8 MPH 12 MPH OIN Mostly clear

05:59 AM 73°F 100% SSE 6MPH 11 MPH OIN Cloudy

10:00 AM 81°F 100% S 8 MPH 8 MPH OIN Cloudy

02;07 PM 88 °F 100% Ss 11 MPH 23 MPH OIN Mostly cloudy

06:00 PM 88 °F 94% Ss 10 MPH 419 MPH OIN Cloudy

09:59 PM 79°F 100% SSE 7 MPH 15 MPH OIN Mostly cloudy

Name CostCode Trade Class Worker(s) Hours Description
work on roof top units from hinds

JL Roberts (Mechanical 3 4.00 county approved purchase order
#42344

Total: 3 4,00

08:11 PM Wille Edmond
(Lat/Long: 32,323223,-90.872483]

JL Roberts started working on approve purchase order #42344 @ Work Center. They started installing refrigerant in RTU-10 and found a hole in the coil that
was caused by the fan blower

Powered By NoteVault Benchmark Construction | Raymond Work Center | Monday, May 03, 2021 | Page 1 of 2

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Employee Signature:

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Ge; BENCHMARK

Sc CORPORATION
Daily Report Wednesday, May 05, 2021
Raymond Detention Center
1450 County Farm Rd
Raymond, MS 39154
Time Temp Hum  W-Dir W-Speed W-Gust Precip Condition
01:51AM 66°F 100% WNW 4 MPH 6MPH 0.01 IN Cloudy
05:59 AM 61°F 100% N 6MPH 9 MPH OIN Cloudy
09:58 AM 61°F 100% N 4MPH 6MPH OIN Cloudy
01:59 PM 66°F 100% N 3MPH 5 MPH OIN Cloudy
05:53 PM 70°F 100% N 4MPH 7 MPH OIN Mostly cloudy
09:54 PM 59°F 100% N OMPH 2MPH OIN Partly cloudy
Name CostCode Trade Class Worker({s) Hours Description
Open welded plumbing chase
Benchmark Construction 8.00 doors and remove cell doors
window stops
‘ i inb-
Hinds County Plumber 0.00 ee problems in
; ; Install new lights and work on
Shivers Electric 8.00 avistin g lights in b-pod
Total: 16.00
08:49AM Wille Edmond
(Lat/Long: 32.247121,-70.400058]
Life Safely Issues @RDC
RDC - LIFE SAFETY ISSUE
RY Lee Pad eee raat at
meee arahaycod
7 Saracens
ss
Power gainvaratee
CS OAD rnCeroteriey
echo
Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, May 05, 2021 | Page i of 2

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Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 12 of 45

05:58 PM Wille Edmond
[Lat/Long: 32,347394,-90,861201]

JL Roberts and Shivers Electric installed water, gas lines,electrical outlet for new kitchen kettles and remove existing ones

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, May 05, 2021 | Page 2 of 2

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:58 AM 55°F 100% N
06:08 AM 52°F 100% N
09:58 AM 64°F 93% N
02:07 PM 73°F 43% NNW
05:54 PM 75 °F 29% N
09:58 PM 57°F 100% N
Name CostCode Trade

Benchmark Construction

CML Security
Shivers Electric

Shivers Electric

Total:

Powered By NoteVault

W-Speed
OMPH
OMPH
7 MPH
9 MPH
4 MPH
OMPH

Class

W-Gust
4MPH
4 MPH
7MPH
9 MPH

11MPH
2 MPH

Worker(s) Hours

Friday, May 07, 2021.

Precip Condition

OIN Clear

OIN Drizzle
OIN Sunny
OIN Sunny
OIN Sunny

OIN Clear

8.00

8,00

8,00

8.00
32,00

Description

Open welded plumbing chase
doors and remove cell doors
window stops

work on mechanical, and guard
door frames

Install new lights and work on
existing lights in b-pod

Install new lights and work on
existing lights in b-pod

Benchmark Construction | Raymond Detention Center | Friday, May 07, 2021 | Page 1 0f 3

D-000183
Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 14 of 45

01:22 AM Wille Edmond
(Lat/Long: 32,.323204,-90,872480)

JL Roberts clean basin on #2 chiller cooling tower

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Friday, May 07, 2021 | Page 2 of 3

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Be pcnuany

CORPORATION

Daily Report Monday, May 10, 2021

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-DiIr W-Speed W-Gust Precip Condition
01:54AM 64°F 100% N OMPH 2MPH 0,09 IN Cloudy
06:06 AM 64°F 100% NE 3 MPH 3 MPH OIN Cloudy

10:07 AM 68 °F 100% N OMPH 4 MPH 0.01 IN Cloudy
02:09 PM 66°F 100% N 6MPH 6MPH 0.01 IN Cloudy
05:58 PM 72°F 100% N 4MPH 6MPH 0.01 IN Cloudy
09:38 PM 66°F 100% N OMPH 6MPH 0.01 1N Light rain

Name CostCode Trade Class Worker(s) Hours Description
Open welded plumbing chase

Benchmark Construction 1 8.00 doorsand remove cell doors
window stops

CML Security 2 8.00 work on mechanical, and guard
door frames

Hinds County Plumber 4 0.00 Workon plumbing problems in b-
pod cells

Total: 4 16.00

09:11 PM Wille Edmond
(Lat/Long: 32.323235,-90.872521)

Hotel and Restaurant delivered,installed and gave owner training on new kitchen kettle

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Video Files:
° 8 9D5-BAC3- : “ 219CF7.
Powered By NoteVault Benchmark Constructlon | Raymond Detention Center | Monday, May 10, 2021 | Page 2 of 2

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Be cnet

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59 AM 63°F 100% ESE
06:07 AM 61°F 100% N
10:09 AM 61°F 100% N
02:09 PM 64°F 100% N
05:59 PM 68 °F 100% N
09:59 PM 64°F 100% N
Name CostCode Trade

Benchmark Construction

Total:

Powered By NoteVault

W-Speed
9MPH
7 MPH
4MPH
6MPH
OMPH
OMPH

Class

W-Gust
12 MPH
7 MPH
11 MPH
9 MPH
6MPH
3 MPH

Wednesday, May 12, 2021

Precip Condition
0,04 IN Cloudy
0.04 IN Cloudy
0,04 IN Cloudy
0.04 IN Cloudy
0,04 IN Cloudy

OIN Cloudy

Worker(s) Hours Description

Open welded plumbing chase
8.00 doors and remove cell doors
window stops

8.00

Benchmark Construction | Raymond Detentlon Center | Wednesday, May 12,2021 | Page 1 of 1

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ps caucus

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir W-Speed
01:55 AM 61°F 100% N OMPH
06:07 AM 57°F 100% N OMPH
10:06 AM 68°F 93% N 6MPH
01:59 PM 73°F 52% N 4 MPH
05:58 PM 73°F 40% N 8 MPH
09:49 PM 57 °F 100% N OMPH
Name CostCode Trade Class

Benchmark Construction

Total:

09:20 PM Wille Edmond
(Lat/Long: 32.303595,-90.890660)
JL Roberts and Trane evaluated trane chiller and cooling towers

W-Gust
4MPH
5 MPH
6MPH
8 MPH
8 MPH
6MPH

Thursday, May 13, 2021

Precip Condition
OIN Clear
OIN Cloudy
OIN Sunny
OIN Mostly cloudy
OIN Sunny
OIN Clear

Worker(s) Hours Description

Open welded plumbing chase
1 8,00 doors and remove cell doors
window stops

1 8.00

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, May 13, 2021 | Page 1 of 3

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Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 20 of 45

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ip GH CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59 AM 55°F 100% N
05:59 AM 50°F 100% N
10:06 AM 72°F 56% N
02:09 PM 75°F 43% N
05:59 PM 77°F 38% N
09:54 PM 59 °F 100% N
Powered By NoteVault

W-Speed
OMPH
OMPH
OMPH
OMPH
3MPH
OMPH

W-Gust
3 MPH
3 MPH
4 MPH
4 MPH
3 MPH
1MPH

Friday, May 14, 20214

Precip Condition
OIN Mostly cloudy
OIN Clear
OIN Sunny
OIN Mostly cloudy
OIN Sunny
OIN Clear

Benchmark Construction | Raymond Detention Center | Friday, May 14, 2021 | Page 1of 1

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Case 3:16-cv-00489-CWR-BWR

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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:58 AM 70°F 100% SE
06:08 AM 70°F 100% SE
10:06 AM 75°F 100% SE
02:09 PM 73°F 100% SE
05:58 PM 75 °F 100% ESE
09:58 PM 70°F 100% ESE
Name CostCode Trade
Hinds County Plumber

Total:

02:45 PM Wille Edmond
(Lat/Long: 32,323271,-90.872293)

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W-Speed
7MPH

7 MPH
12MPH
8 MPH
10 MPH
4MPH

Class

JL Roberts repairing damage duct and servicing a/c units in b-pod

W-Gust
14MPH

8MPH
21 MPH
17 MPH
18 MPH
12 MPH

Tuesday, May 18, 2021

Precip Condition
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Light rain
OIN Cloudy
OIN Cloudy

Worker(s) Hours Description
1 0,00
1

work on plumbing problems in b-
pod cells

Powered By NoteVault

Benchmark Construction | Raymond Detention Center | Tuesday, May 18,2021 | Page 1 of 2

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Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, May 18,2021 | Page 2 of 2

D-000194
Case 3:16-cv-00489-CWR-BWR

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CORPORATION

Daily Report

Raymond Detention Center

1450 County Farm Rd

Raymond, MS 39154

Time Temp Hum  W-Dir
01:59AM 70°F 100% ESE
06:09 AM 68 °F 100% E
10:08 AM 75 °F 100% ESE
02:08 PM 81°F 100% ESE
05:59 PM 79°F 83% ESE
09:54 PM 72°F 100% ESE
Name CostCode Trade

Benchmark Construction

CML Security

JL Roberts A/C
Total:

Powered By NoteVault

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W-Speed
7 MPH

6 MPH
12 MPH
15 MPH
15 MPH
6 MPH

Class

Benchmark Construction | Raymond Detention Cenler | Wednesday, May 19, 2021 | Page 1 of 1

W-Gust
9 MPH
8 MPH

21 MPH

27 MPH

29 MPH

12 MPH

Wednesday, May 19, 2021

Precip Condition
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Mostly cloudy
OIN Mostly clear

Worker(s) Hours Description

1

Open welded plumbing chase
8.00 doorsand remove cell doors
window stops
work on mechanical guard doors
8.00 _ ,frames and fire hose cabinets in
b- pod
8.00 Service a/c units (5) in c-pod
24,00

D-000195
Case 3:16-cv-00489-CWR-BWR

Bessie!

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
01:58 AM 72°F 100% ESE
05:59 AM 70°F 100% ESE
09:59 AM 77°F 100% SE
01:58 PM 81°F 83% ESE
05;58 PM 81°F 78% ESE
09:58 PM 73°F 100% ESE

12:15 PM Wille Edmond
(Lat/Long: 32.246955,-90.399997]

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W-Speed
8 MPH
14 MPH
15 MPH
19 MPH
114 MPH
8MPH

W-Gust
17 MPH
43 MPH
27 MPH
29 MPH
15 MPH
14.MPH

CML installing firehose cabinets,a/c unit and on duty guard toilet doors in b-pod

Powered By NateVault

Precip Condition
OIN Mostly cloudy
OIN Partly cloudy
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Mostly cloudy

Thursday, May 20, 2021

Benchmark Construction | Raymond Detention Center | Thursday, May 20, 2021 | Page 1 of 2

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Be pvc

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:59 AM 72°F 100% ESE
06:09 AM 70°F 100% ESE
10:07 AM 79°F 88% ESE
02:09 PM 84°F 61% ESE
05:58 PM 82°F 57% N
09:58 PM 66 °F 100% N
Name CostCode Trade

Benchmark Construction

CML Security

JL Roberts A/C
Total:

06:23 PM Wille Edmond
(Lat/Long: 32.361860,-90,476729)

JL Roberts Installed neve belts,filters,cleaned vents and (Ix damaged a/c duct

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W-Speed W-Gust
7 MPH 9MPH

8 MPH 15 MPH
16 MPH 22 MPH
12 MPH 24 MPH
6MPH 12 MPH

Friday, May 21, 2021

Precip Condition
OIN Mostly cloudy
OIN Mostly sunny
OIN Sunny
OIN Mostly cloudy
OIN Partly sunny

OMPH 4 MPH OIN Partly cloudy
Class Worker(s) Hours Description
Open welded plumbing chase
1 8.00 doors and remove cell doors
window stops
work on mechanical guard cloors
8 8.00 _ ,frames and fire hose cabinets in
b- pod
é 8.00 Service a/c units (5) and repaired
damaged duct in a-pod
10 24,00

Benchmark Constructlon | Raymond Detention Center | Friday, May 21,2021 | Page 1 of 2

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2¢ BENCHMARK
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Ee CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-DIr
01:58AM 66°F 100% N
06:06 AM 61°F 100% N
09:58AM 81°F 94% N
02:09 PM 88 °F 48% N
05:58 PM 82°F 61% SSE
09:58 PM 72°F 100% N
Name CostCode Trade

Benchmark Construction

CML Security

Total:

Powered By NoteVault

W-Speed
OMPH
OMPH
4 MPH
OMPH
7 MPH
OMPH

Class

W-Gust
1MPH
1MPH
4 MPH
4MPH
7 MPH
4MPH

Monday, May 24, 2021

Precip Condition
OIN Fog

0,01 IN Fog
OIN Sunny
OIN Mostly sunny
OIN Cloudy
OIN Cloudy

Worker{s) Hours Description

1

Remove cell doors window stops

cut out bar steel

work on mechanical guard doors

8.00 _ frames and fire hose cabinets in
h- pod

8.00

Benchmark Construction | Raymond Detention Center | Monday, May 24, 2021 | Page 1 of 1

D-000200
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Ge: BENCHMARK
Imp @@ CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition
01:59 AM 72°F 100% S 4MPH 6MPH OIN Clear
06:08 AM 61°F 100% N OMPH 4 MPH OIN Sunny
10;09 AM 79°F 100% N 4 MPH 6MPH OIN Sunny
01:59 PM 86°F 58% N 6MPH 14MPH OIN Partly sunny
05:58 PM 86°F 51% SSE 9MPH 11 MPH OIN Partly sunny
09:59 PM 77°F 100% WSW 7 MPH 8 MPH OIN Cloudy
04:55 PM Wille Edmond
(Lat/Long: 32.3467 16,-90.861240]
Lewis Fire Protection demo old and installed new jockey pump @RDC
04:58 PM Wille Edmond
(Lat/Long: 32.346710,-90,861191]
Hotel & Restaurant delivered and Installed new kitchen kettle

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, May 25, 2021 | Page 1of 1

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Tuesday, May 25, 2021

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Be pecan

CORPORATION

Daily Report Wednesday, May 26, 2021
Raymond Work Center

1450 County Farm Road
Raymond, Ms 39154

Time Temp Hum W-Dir W-Speed W-Gust Precip Condition
01:58 AM 70°F 100% SE 4MPH 9 MPH 0.19 IN Mostly cloudy
06:09 AM 68 °F 100% N OMPH 3MPH OIN Cloudy

10:09 AM 75°F 100% WSW 6MPH 8 MPH OIN Cloudy

02:08 PM 81°F 100% NW 7 MPH 7 MPH OIN Light rain
05:58 PM 84°F 74% N 6MPH 41MPH OIN Mostly sunny
09:58 PM 72°F 100% N OMPH 1 MPH OIN Partly cloudy

07:17 PM Wille Edmond
[Lat/Long: 32.323273,-90,872529]

Lewis Fire Protection work on demoing old and installing new fire tower water pump

Employee Signature:

Powered By NoteVault Benchmark Construction | Raymond Work Center | Wednesday, May 26, 2021 | Page 1 of 1

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[ees saan

CORPORATION

Daily Report
Raymond Work Center

1450 County Farm Road
Raymond, Ms 39154

Time Temp Hum  W-Dir
01:59 AM 66°F 100% N
06:08 AM 66°F 100% N
10:05 AM 81°F 100% N
02:08 PM 88°F 62% SW
05:59 PM 88°F 62%  WSW
09:59 PM 75°F 100% N
Name CostCode Trade
Lewis Fire Protection

Total:

Employee Signature:

Powered By NoteVault

W-Speed
OMPH
OMPH
4 MPH
6MPH
6MPH
OMPH

Class

W-Gust
1MPH
4 MPH
4MPH
6MPH
8 MPH
4MPH

Thursday, May 27, 2021

Precip Conditlon
OIN Fog
OIN Fog
OIN Sunny
OIN Mostly sunny
OIN Mostly sunny
OIN Clear

Worker(s) Hours Description

2
2

8.00 Installed new fire tower pump
8,00

Benchmark Construction | Raymond Work Center | Thursday, May 27, 2021 | Page 1 of 1

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Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 34 of 45

=> BENCHMARK
Be GOMPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:59AM 66°F 100% N
06:08 AM 66°F 100% N
10:08 AM 81°F 100% N
02:08 PM 88°F 62% SW
05:59 PM 88°F 62%  WSW
09:59 PM 75°F 100% N

02:51 PM Wille Edmond
(Lat/Long: 32,323239,-90,872503]

Hitex Sprinkler installed (5) fire hoses and spouts in B-Pod

Powered By NoteVault

W-Speed
OMPH
OMPH
4MPH
6MPH
6MPH
OMPH

W-Gust
1 MPH
1 MPH
4 MPH
6 MPH
8 MPH
4 MPH

Thursday, May 27, 2021

Precip Condition
OIN Fog
OIN Fog
OIN Sunny
OIN Mostly sunny
OIN Mostly sunny
OIN Clear

Benchmark Construction | Raymond Detention Center | Thursday, May 27, 2021 | Page 1 of 1

D-000204
Case 3:16-cv-00489-CWR-BWR

[Ze BENCHMARK
mo Ge ComPonATiON

Daily Report

Raymond Work Center

1450 County Farm Road

Raymond, Ms 39154

Time

01:58 AM
06:08 AM
10,08 AM
02;08 PM
05:59 PM
09;53 PM

Name

Lewis Fire Protection

Total:

Temp Hum
75°F 100%
73°F 100%
75°F 100%
79°F 100%
79°F 100%
70°F 100%
Cost Code

42:11 PM Wille Edmond

(Lat/Long: 32.323256,-90.872340]

W-Dir

zeezee

Trade

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W-Speed
3 MPH

7 MPH
4MPH
42 MPH
10 MPH
OMPH

Class

Hotel & Restaurant installed new water lines on new kitchen kettle

Powered By NoteVault

W-Gust
6MPH
12MPH
7 MPH
18 MPH
10 MPH
1 MPH

Friday, May 28, 2021

Precip Condition
OIN Cloudy
OIN Cloudy

0.01 IN Partly sunny

0.01 IN Mostly cloudy
OIN Mostly cloudy
OIN Cloudy

Worker(s) Hours Description
2
2

8,00 Installed new fire tower pump
8.00

Benchmark Construction | Raymond Work Center | Friday, May 28, 2021 | Page 10f 2

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Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 36 of 45

12:12 PM Wille Edmond
(Lat/Long: 32.323256,-90.872340]

Hotel & Restaurant installed new water lines on new kitchen kettle

Employee Signature:

Powered By NoteVault Benchmark Construction | Raymond Work Center | Friday, May 28, 2021 | Page 2of 2

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Benchmark Construction Corp.
Jackson, Mississippi

TIME CARD SHEET

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WEEK BEGINNING: wt. (PI week ennina{Y2) | OL
Employee Name: N AKO ft
Job Name y .
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Supervisor TOTALS: “fod

D-000207
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ati BEGINNING: AQ), \\ TAL

a Benchmark Construction Corp.

Jackson, Mississippi
TIME CARD SHEET

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Employee norte hu \ ou 0)

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or Number Ph Code L wie RT Tues Wed Thurs Fri Sat Sun Mon TOTAL
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Supervisor

D-000208
Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 39 of 45

Benchmart Construction Corp.

Jackson, Mississippi

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. Employee Name: OAL [ NCA, 4 |
Job Name UY ,
or Number Ph Code L W/C RT Tues Wed Thurs Fri Sat Sun Mon TOTAL
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Supervisor TOTALS: _' 10

D-000209
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Benchmark Construction Corp.
Jackson, Mississippi

TIME CARD SHEET
WEEK sconnmge\ OU SD. ZY | WEEK sone: NY Ze
Employee namo, QouU (AG

Job Name
or Number Ph Code . Ww/C RT Tues Wed Thurs Fri Sat Sun Mon TOTAL
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OT
Supervisor TOTALS:

D-000210
Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 41 of 45 ,

COMMENTS PLEASE CONTACT STORE MGR
REBECCA_L_CATER@HOMEDEPOT .COM

2907 00051 Ao65e 05/09/21 12:37 PM
SALE SELF CHECKOUT

eesga rer 20-VOLT MAX <A> oo
20V MAX LITHIUM-ION BATTERY BAC

OTAL 149
SALES TAX 10.43
TOTAL $159.43

SH 20

A 0.00
CHANGE DUE 40.57

“NOMA

RETURN POLICY DEFINITIONS
POLICY ID DAYS POLICY EXPIRES ON
A i 08/07/2021

RRAARARARKRALKKAREKRARARERAARRAKAKARARAAREK

OLD WE NATL IT? ~

Jake a short survey for_a chance TO WIN
A $5,000 HOME NEPOT GIFT CARD

Opine en espaiiol
www .homedepot .com/survey

User 10; H8G6 122500 119644
PASSHORD: 21259 119593

Entries aust be_ completed within 14 days
of purchase. Entrants must be 18 or
older to enter. See complete rules on
wabsite. No purchase necessary.

D-00021 1
Case 3:16-cv-00489-CWR-BWR

HARBOR FREIGHT TOOLS
PRECIRP RCT at ee eae
PEARL MS #00090
3100 HIGHYAY 80 EAST
PEARL, MS 39208 .
Telephone: (601) 664-0880

Yuntls Goly

SALE

61177 4-1/2IN GRIND/CUTHHL ASSR $11.49
61178 4.5IN GRND/CUT/FLPWHL ASS $$.99

69024 4.5 406 CUTOFF WHL 1761A- $9.99
64024 4.5 406 CUTOFF WHL 1761A- $9,959
64024 4.5 406 CUTOFF UHL 1761A- $9.99
Subtotal $51.45
Sales Tax 7.000% $3.60
Total $55.05
Cash $100.05
Cash Change $45.00

Store: 00090 Ree: O07 Tran: 682851
Dete: 5/7/2021 3:22:24 PH Assoc: XXXXKK
Tkeket: 01682551

Item(s) Sold: 5
Item(s) Returned: 0

Jessica served you today.
Thenk you for shopping at
PEARL HS #00090

Proof of Purchase Required for Returns/
Exchenees Uithin 90 Days of Purchase.

BGM EE RHR EEK EE EER EERE ER

GET MORE COUPONS
Text TOOLS to 34648

To set coupons and sales slerts via text
nessase from Harbor Freisht! Data rates
aay apply. Consent not required for
purchase text STOP to STOP.

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D-000212
Case 3:16-cv-00489-CWR-BWR Document 179-6 Filed 03/01/22 Page 43 of 45 °

HARBOR FREIGHT TOOLS
PAU RCL eae eat ee
PEARL HS #00090
3100 HIGHWAY 80 EAST
PEARL. MS 39208
Telephone: (601) 664-0880

SALE
+2542 SAFETY GLASSES INPACT RE $1.89
1153 9-1/2IN 60G THN MTCUTOFF $3.99
1153 4-1/2IN 60G THN HTCUTOFF $3.99
11153 4-1/2IN 60G THN MTCUTOFF $3.99
1153 4-1/2IN 605 THN MTCUTOFF $3.99
1195 4-1/2IN 40G MTL CUTOFF WH $7.99
1195 4-1/2IN 406 MTL CUTOFF UH $7.99 -
ubtotal $33.83
ales Tax 7.000% $2,37
‘otal $36.20
ash $100.00 “
vash Chanse $63.80

‘tore: 00090 Reg: 03 Tran: 429019
late: 5/3/2021 2:46:32 PM Assoc: KXXXKX
‘Icket: 03429019

Item(s) Sold: 7
Item(s) Returned: 0

Ashlyn served you today.
Thank you for shopping at
PEARL MS #00090

Proof of Purchase Required for Returns/
Exchanges Within 90 Days of Purchase.

HRBRLT LAE AASEAAEE LK LER AREEEEEA ERE EET EEE

GET MORE COUPONS
Text TOOLS to 34645

‘o get coupons and sales alerts via text
ressase from Harbor Freight! Deta rates

= went o. e , .«

D-000213
Case 3:16-cv-00489-CWR-BWR

Meeting
Meeting
Meeting
Meeting
Meating
Meeting
Meeting
Meeting
Meeting

DATE

3-May

7-May

14-May
18-May
214-May
24-May
26-May
27-May
28-May

Meeting/Revtew projects
Meeting/Review projects
Meeting/Review projects
Meeting/Review projects
Meeting/Review projects
Meeting/Review projects
Meeting/Review projects
Meeting/Review projects
Meeting/Review projects

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HINDS DETENTION FACILITIES
TIME SHEET DAVID MARSH

May-21
DESCRIPTION HOURS

2.00
4.00
2.00
2.00
3.00
2.00
1.00
2.00
2,00
20.00

20 TOTAL MEETING HOURS x$73= $ 1,460.00

D-000214
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CLERK:

FEB 24 2022

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF MISSISSIPP!
(i CN ~beenaree
